     Case: 1:19-cv-00485 Document #: 1 Filed: 01/23/19 Page 1 of 18 PageID #:1                                                              9x



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                                                                                                                    ffi    C E 1yE D
                                 UNITED STATES DISTRICT COITRT                                                            JAN 2   32usff,
                             FOR TIIE NORTHERN DISTRICT OF ILLINOIS
                                                                                                                   THOMASG BRUTON
                                                                                                                CLERK, U.S. DISTRICT COURT
          /?e)ro' LoPe:

Plaintif(s),                                                       1:19cv{0485
                                                                   Judge John J. Tharp, Jr
"-        UUalSLeeht
                                                                   maEstrate Judge Sunil R. Hariani




Defendant(s).



                         COMPLAINT OF EMPLOYMENT DISCRIMINATION

      This is an action for employment discrimination.

      rheplaintiffi. Rg)rrc, LoP€n                                                                                          ofthe

 county   o                                                         in the state    ol
 3.   The defendant is                     U,lq     l$ ,e€ r s
 street address is              lov         vvi/r,iot Rd,, &s                      #         t+<l w

 (ciry) Dee [' f )e        ld   (county)-(state)                                 r(                QTD_6@D
 (Defendant's telephone          number) (-)                 -
 4.   The plaintiffsought employment or was employed bythe defendant at (street address)

                D+/ $looninyton Rc/                                                 (city) ChofiPq rS'4
            ,_
      lcounty;Chory,PQld'lstate)                 LL              (zte cooe)     6/t2O




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      Case: 1:19-cv-00485 Document #: 1 Filed: 01/23/19 Page 2 of 18 PageID #:2




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5.          The plaintifflcheck one boxf

            (a) tr          was denied employment by the defendant.

            (b) tr          was hired and is still employed by the defendant.

            (c) V           *uremployed but is no longer employed by the defendant.

            The defendant discriminated against.the plaintiffon or about, or beginning on or about,
            lmontn;      SeP        ry   be v,   (day) I I ,1yea) 2a I I
            (Choose paragroph 7.1               or   7.2, do not complete both.)

            (a)     The defendant is not a federal govemmental agency, and the plaintiff
                    lcheck one box) Eilas Ehns not filed a charge or charges against the defendant

                    asserting the acts of discrimination indicated in this complaint with any of the

                     following government agencies:

                    (i)      Vtn"United          States Equal Employment Opportunity Commission, on or about

                            (rr,ortn)     f)t/{US1 (duv)_?_3                        (vear)    2ol&
                    (ii) V       tn. Illinois Department of Human Rights, on or about

                            (month)         &qy                (auv)--9-(vea0 ?o/&                          .



            (b)      If charges were filed with          an agency indicated above, a copy of the charge is

                    attached.     E      Yes,   E    No, but   plaintiffyill file a copy of thp chargg within 14 days.
                               T canry $et q fo Py of tbp .chqde Jooa-FFoc puJl r'c po"tQ                                       /
                               d,/e ro ;iovtPnrrt€nt .ShqtdOq/^-
            It is the   policy   of both the Equal Employment Opportunity Commission and the lllinois

            Department of Human Rights to cross-file with the other agency all charges received. The

            plaintiffhas no reason to believe that this policy was not followed in this case.



7.2         The defendant is a federal governmental agency, and

            (a)         the plaintiffpreviously filed a Complaint of Employment Discrimination with the


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        defendant asserting the acts of discrimination indicated in this court complaint.

                     E    Yes   (month)-                                 (day)-            (year)

                     E    No, did not file Complaint of Employment Discrimination

        (b)          The plaintiffreceived a Final Agency Decision on (month)

                     (dav)                   (vear)

        (c)          Attached is a copy of the

                          -
                     (i) Complaint of Employment               Discrimination,

                           EI   Yes       EI No, but a copy will be filed within 14 days.

                      (ii) Final Agency Decision

                           E Yes E N0, but a copy will be filed within 14 days.

8.      (Complete paragraph 8 only if defendant is not afederal govemmental agency.)

        (a)     tr         the United States Equal Employment Opportunity Commission has not

                           issued a Notice of Right to Sue.

        6; Vtfre United States                Equal Employment Opportunity Commission has issued

                           aNotice of Right to Sue, which was received by the plaintiffon

                           (month)                          (day)_                (year)_                  a copy   of which

                           Noticeis attached to this compraint.
                                                                            iJilJ,[T;l }}J -tiff]*,t i                               shcttd or*n
                                                                             { cqh'} ot},             the EEo,           Pvtli',   Poktql.
9.      The defendant discriminated against the plaintiffbecause of the plaintifPs lcheck only

        those that applyl:

        (a) tr         Age (Age Discrimination Employment Act).

        (b) E color (Title vII ofthe civil                    Rights Act of 1964 and 42            u.s.c. $1981).


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                          .a
           (c) V Disability (Americans with Disabilities Act or Rehabilitation Act)
           (d) E National Origin (Title VII of the Civil Rights Act of 1964 and 42 U.S.C. $1981).
           (e) E           Race (Title        VII of the Civil Rights Act of         1964 urd 42      U.s.c. $1981).

            (0 tr          Religion (Title VII of the Civil Rights Act of 1964)

            (g) E          Sex (Title        VII ofthe Civil Rights Act of 1964)


10.         If the defendant is a state, count5r, municipal (city, town or village) or other local

            governmental agency, plaintifffurther alleges discrimination on the basis of race, color, or

            national origin (42 U.S.C. $ 1983).


I   l.      Jurisdiction over the statutory violation alleged is conferred as follows: for Title VII

            claims by 28 U.S.C.$1331, 28 U.S.C.$1343(a)(3), and 42 U.S.C.S2000e-5(f)(3); for 42

            U.S.C.$        l98l    and   $   1983 by 42 U.S.C.$ 1988; for the           ADA by 42 U.S.C.$           l2ll7;    for the

            Rehabilitation Act, 29 U.S.C. $ 791; and for the ADEA, 29 U.S.C. $ 626(c).


12.         The defendantlcheck only those that applyl
            (a)    tr     failed to hire the plaintiff.

            (b)    tr     terminated the plaintiffs employment.

            (c)    tr     failed to promote the plaintiff.

            (d)    tr     failed to reasonably accommodate the                 plaintifls religion.

            p1 Vfailed to reasonably                  accommodate the          plaintiffs disabilities.

            O   V failed to stop harassment;
            (e) tr           gg1ffi1llf,qF",fitiff"h"ffitsi?"s%Btrtrs,J[J'fl0'3dB?,&ing                             to assert rights
                          #at*gg
            (h)E/other (speciff):                  fq)led        t" Protec* ftumq" R|lh-ts
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13.      The facts supporting the plaintiff s claim of discrimination are as follows:




14.      IAGE DISCRIMINATION ONLYI Defendant knowingly, intentionally, and willfully
         discriminated against the plaintiff.

15.      Theplaintiffdemandsthatthecasebetriedbyajury. El yes                                       tr No ( nOt h                 n Juke   )
16.      THEREFORE, the plaintiffasks that the court grant the following reliefto the plaintiff
         lcheck only those thot applyl

         (a) E               Direct the defendant to hire the plaintiff.

         (b)            EI Direct the defendant           to re-employ the plaintiff.

         (c) E               Direct the defendant to promote the plaintiff.

         (d)            EI Direct the defendant           to reasonably accommodate the plaintifPs religion.

         (e) E               Direct the defendant to reasonably accommodate the plaintiffs disabilities.

         (0             Voirectthedefendantto(specifu),                          tgll ql'l tbg t\'lth
                             To tuhole hc,tlOz t6c,t                                wCrS         hctvva.ls,arerr.,-f
                               qhd       Pcrbl      ic h,.*lllq't,'otau"
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   Case: 1:19-cv-00485 Document #: 1 Filed: 01/23/19 Page 6 of 18 PageID #:6




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        G) Y ff available, grant the plaintiffappropriate           injunctive relief, lost wages,
                         liquidated/double damages, front pay, compensatory damages, punitive
                         damages, prejudgment interest, post-judgment interest, and costs, including
                         reasonable attorney fees and expert witness fees.

        (h)         VCrantsuch other relief            as the Court may         find appropriate.




                    R{ina @PaV
                 Re)nu
        (Plaintiffs name)
                                    LoPe?

                3}(-2Oq               Sh|,,rrOr/hl h qJc{              \q,-)o Cro
        (PlaintifP s street address)

                     HrJ.qs       r,'        g;a5g;na
                     ' H iko S/ai z,a f st"t"l|314<Uzm; 739-oo:3
        fcitvl

        (Plaintiffs telephone number)              Gll -         &/    -   P)   - 4)6 - O0 19




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                   United States District Court
                   Northern District of Illinois


Reina Lopez
Plaintiff

    V

Walgreens
Defendant


                               COMPI"AINT



Dear Honor,

I was told that there's no cause finding by EEOC. I still would like
to file a case against Walgreens, because I know there's cause.
I do not have attorney. I do not have any witness    and/or evidence
I   can provide, because no one is willing to help me and tell me the
truth.
I understand that it is not going to be easy for me, because of lack
of evidence, however, I have to stand up for myself and for my
human rights. And I'll telling the truth as you know.

I believe my previous boss at Walgreens, and there might be U.S
government involved on this case, they made a video saying I'm
criminal and bad person, and also made a video to make me
embarrassed, and sent it to whole nation.
After this, people around me reacted to look scare at me, and/or
laugh at me, and/or laugh at me. AII my friends and people I know
did not talk to me anymore. I was harassed by all the people in the
United States.
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After I said I'm depressed, my boss Tommy told me he wants me,
because they care about me. But, they didn't look like so. They
looked, and sounded like they were acting funny.

It was around JuIy andAugust 2017, I was having bad headaches.
I have a brain injury. My headaches was tense, and I went to
Chiropractic. I also went to see a doctor, but none of medications
worked for me, so someone told me to try Chiropractic. After he
adjusted my neck at Chiropractic, I started to have bad neck pain.
I went to ER, and the doctor told me he is going to take a CT scan
with contrast. They gave me IV. Short after, I started to feel like
just want to get up and walk around. The condition kept going,
and I felt like I want to walk around , and move around even on a
bus and at work.
On the same time, I was feeling a lot of anxiety, and felt like
depress. It's kind of hard to describe how exactly I was feeling, but
I could never feel happy like I used to. I thought I was depressed.
However, I couldn't find any reasons to be depressed, so that was
the one reason, I did not sign the paper my boss told me to.

My physical state, feeling like I want to walk around, and move
around, when I got back in Japan, doctor told me it was side effect
from medication, probably from the CT contrast medium, it's
called "Akatthisia."
After I got this symptom, I stated to make mistakes. I do not know
why, but   I said something wrong to customers couple times.

So,   was thinking, because I said something wrong, hY boss
      I
decided to say something about me? Such as I'm criminal and/or
bad person?
I do not know why. I'm still not understanding why they could
have done such as cruel thing to me. I understand that making
mistakes at work is not good thing, however, I've never ever made
mistakes intentionally.
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I asked people why they are angly, why they were laughing at me,
but no one told me the truth. Even investigator told me they could
not find any evidence which they know everything.

I   not understand what law in the U.S is anymore. I do not think
    d.o
law exist in the country.

What they has done to me is a crime. They called me I'm criminal,
but I've never committed crime. They are criminals. They are bad
people.



I wanted to ask you, Judge, if you really believe in God, and swear
to God to tell the truth at court, if you are following the law, and
have a heart, kindness and compassion, please do so.


Every day, I have to be aware of people around me. I have to see
how they react on me. I'm afraid of my daily life and future.
Thinking why, and having all the pain and sadness. Feeling like I
do not deserve to live.
I had so many times wish to be disappear, and hate to live.

I am one Human Bing..

Kids at school, they often get bullied, and sometimes they commit
suicide. Those kids who were bullying, and made them to commit
suicide, I think they are guilty. I think bullying is against law.
I think harassment is also against law-

When I reached out to Illinois Department of Human Rights,
The investigator told me "That was a harassment."


I pretty much lost the faith. Faith to God. If God exist here in this
world, he would have never done anything like this to me, so I
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conclude probably, God does not exist. Even so,      I still pray to God,
cry for help.
I hope he hear my voice.

So, one day, if he hear my voice, I want all the people in the U.S
know I'm not criminal and/or bad person. I've never done anything
to be humiliated myself, so I want them to know all the truth.
I want people to stop harass and laugh at me.
I want to live life normal as before.
I hope someday, go back to U.S, and talk to my friends as friend.

Sincerely,




Reina I'opez
    EetruqeY
354-204 Shimomindga Saijo Cho Higashi Hiroshimashi
Hiroshima Ken, Japan
011-81-82'426'0419
Case: 1:19-cv-00485 Document #: 1 Filed: 01/23/19 Page 11 of 18 PageID #:11




To whom   it   may concern,

Hello. My name is ReinaI-apez. Please give me an opportunity to
talk to you today.
I apologtze for my English writing skills.

I used to work at Walgreens in Champaign, IL. I believe whole
nation received Alert text message saying I'm criminal and/or
more, so people around me started to get angry at me and"/or laugh
at me and/or scare at me after Sep l1tn,2017.

Back on 2012, I got a brain injury, so I always have headaches.
Sometimes the headaches get intense. I started to have real bad
headaches from around JuIy 2Ol7.I tried all different kind of pain
medication, but nothing really worked for me. Someone told me to
try Oriental Medicine, so I went to Chiropractic. After he adjusted
my neck, I started to have more headaches and neck pain. One day,
I went to ER for the pain. The doctor told me he is going to take a
CT scan with Contrast. They gave me an IV. I think it's called
Contrast Medium. Couple minutes later, technician came to pick
me up for take a CT scan. He told me to lay on the bed, but it was
really hard to lay and stay on the bed. I'm not for sure how exactly
describe the feeling, but I just wanted to get up from bed, and walk
around. I didn't know what was going myself, but later, when I
came back to Japan, I talked about that to my doctor. He told me
it's side effect from the medicine, it's called "Akathisia."

The feeling continued even after the day. When I was on a bus, it
was hard to sit and still for me. I just wanted to get up and walk
around. It was also hard to stand and stay at register at work for
me. I just wanted to leave from there, and walk around and move
around. I had a feeling that I shouldn't be working, but I kept
going to work, and started to make a lot of mistakes at work.

One day, one customer came to me, and asked me something. I
don't know why, but I told him something wrong. I really don't
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know why I said so, but I just wanted to leave from register quickly,
because I still had the symptom. (I couldn't stay and still.) I was
feeling like restless and kind of irritating feeling.
Another day, one regular customer came, and asked me to get a
cigarettes from behind the counter. I usually know which
cigarettes and where it is, but couple minutes before, Dy coworker
reset the place, so I had no idea where the cigarettes was located.
I called my manager, and asked him where the cigarettes, because
there were four or five customers were waiting at register, and I
didn't want make them to wait so long. I thought that was best
thing to do, but people started to laugh at me.
Another day, one guy came and asked me to put some money on
his prepaid card. He looked like same guy came and put a lot of
money earlier on that day, so I told him I can't put any money
anymore, because one customer can put money only up to $500.00
per day. But, I guess he was not the same guy I thought. He started
to get upset, so I called -y manager.
One day, one lady came and asked me if we carry key chain. I
immediately thought I don't think we carry that, but sometimes
we get souvenir from Chicago area, so I thought maybe we have
somewhere, so I called my coworker and tried to make sure.

I know I was making a lot of mistakes, but nothing intentionally.
I regret that I didn't take off, because now I know, I wasn't
condition I could perform well with Akathisia symptom. I was
feeling terrible about making a lot of mistakes.

I was married back from 2OO7 to 2011. I was married to service
guy. I was in domestic violence situation, so Military used to
separate us by protection order. I was at home by myself every day.
I didn't have a car, I didn't have a lot of friends, I didn't have a
job, I didn't even speak English well. I spent most of days at empty
house alone. f was too lonely, and I started to have panic anxiety
when I was alone, I started to have trouble breathing, emptiness.
I was feeling like I was the only one human Bing on the planet.
That condition kept happening even after divorce, but I was trying
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to manage it by keeping busy always. However, the anxiety came
back from JuIy. Besides, I was feeling like sick, I didn't have
energy I want to do anything. Nothing I ate taste good... I was
having a lot of pain, headaches and neck pain, so I thought maybe
that is because I'm depression, so I told my manager I was
depression.

One day, my boss told me we have to move stuff from one side to
the other side of shelf. I did not know how to, or where we need to
move, so I was asking to my manager where I needed to move.
When she was helping customers, I did not know what to do, so f
was just standing. I did not notice customers were coming to
register, so I guess my coworker Steve had to come to register.
Maybe that's why Steve was angly. He looked angry at me. After
I came back from break, I was standing at register. I started to feel
nausea, and I told my manager Katy "I don' feel good." She made
uncomfortable face. I told her "Steve is mad", and I little cried. My
manager Katy seemed angly, and Steve was angry too, so that was
in my mind, so I said "Steve is mad." but, I guess that made my
manager Katy and Steve embarrassed, they started to get angry.
I didn't mean to make them embarrassed at all. I heard they were
yelling at back room. I realized they were really angry, so I was
going to apologize. I asked them if they were angry at me, but they
said no. They said they are not angry even not slightly.

The next day, my store manager called me at office. I thought he
was going to tell me my word made my manager and coworker
embarrassed, but instead, he told me I'm doing fantastic job...
He looked over exaggerated. I felt that was kind of weird...
Couple days later, my store manager gave me a paper. He told me
it is a program Walgreen has, and told me to sign the paper. They
wanted me to go to psychiatrist and counseling. However, I refused
to do so, because I've already went to see my psychiatrist. Couple
weeks before, my manager told me she saw my Facebook. I got
scared, because I was putting some pictures from salsa. I used to
go to dance salsa on Saturday night, because I love dancing and
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that was only my joy I had. But, I lied to my work. I asked let me
leave earlier on Saturday night. I couldn't say I go to dance at club,
so I told them I go to salsa class.
So, when my manager told me she saw my Facebook, I got scare. I
went to see my psychiatrist, and asked him how I should do about
that. That's why, I didn't want to go back to see my psychiatrist,
because I thought it's going to be really rude for my psychiatrist.

I was also thinking they were trying to put me at psychiatric
hospital. When I was married, I used to see counselor for domestic
violence situation. I was separate from my husband, I was so alone,
and depressed. One day I told my counselor I want to die... She
sent me to ER, and I was sent to psychiatric hospital from there.
At hospital, they told me to sign a paper. I didn't even know what
exactly it was, but I signed it. Bing at psychiatric hospital, it was
really scary event for me. I regretted sign on the paper...
I was traumatized at the event, so when they told me to sign the
paper going through both of psychiatrist and counselor, I totally
thought they are trying to put me at psychiatric hospital. Because
I knew I was behaving weird. I was always walk around and move
around from Akathisia symptom..
And also, I didn't have clear reason to explain about depression.
Maybe I wasn't depressed. I was having anxiety, so I just thought
I was depressed... Later,I was reading article about Akathisia,
and one of those symptom had anxiety.
But, there's nothing to do with I said Steve is mad. I have no idea
why I said myself neither, but I had no intention to make them feel
bad...

But,   don't und,erstand.. It's because I made Katy and Steve
       I
embarrassed, so they wanted to make a video to make me
embarrassed? It's because they were angly at me, so they wanted
to make a vid.eo which whole nation make me angly, and sent it to
whole nation?

When I was kid, I was always bullied. I didn't know how to talk to
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people. I didn't know how to defend myself. Everyone laughed at
me and hated me. Maybe I was born meant to be so. Maybe I don't
know how to talk and how to deal with problem, so maybe I make
people angly even I don't mean to..

 But, I'm still one human Bing..

I'm over here in Japan right     now, but unfortunately,     I don't like
Japan so much.     Ialways dreamed to go to U.S since I was in
middle school. So, when I became U.S citizen, I was so happy. I'm
dreaming to be able to go back to U.S someday.

It wasn't easy to write everything I want to say with my English
writing skills. I tried my best. I hope I could explain everything.
Thank you very much for reading. Thank you very much for your
time also.

Sincerely,




                                                           Reina Lopez
                  Case: 1:19-cv-00485 Document #: 1 Filed: 01/23/19 Page 16 of 18 PageID #:16



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218-2018-01719                                    lnvestlgator                                                        (3121869{0s9
THE EEOC IS CLOSII{G tTS FILE ON T}IIS CHARGE FOR THE FOLLOWING REASOI{:
     D              The facts alleged ln the ctrarge fail to stato a claim under any of lhe statutos enbrcod by lhe EEOC.


     tI             Your allegations dd nol lnvolve a dlsabllity as defined by the Ameftans Wlh Dbabllltie Act.


     tI             The Respondent employs less than the requlred numberof employees or ie not othenvige coversd by ths stBtut€s.

     tl             Your charge was not timely filed wilh EEOC; ln other vuords, you walted too long afier
                    discrirdnation to fle your charge
                                                                                                                     he     date(s) of lhe alleged


      E             Tho EEOC lssles the fdloeing detenrdnatlon: Based upon lts investigalion, the EEOC ls unable to conclude hat the
                    lnfomation obtahed estsblishei violatons of lhe statuGs. Thls doeE not certfy lhat tha reePondent ls ln complianca wilh
                    the silatutes. No finding is made as lo any other issrrs lhat mlght ba construed as havlng been ralsed by ftis charge.

      E             The EEOC has adopled he llndlrgs of the state or local fair ernployrnent practicas agency that lrwesilgated thls' charye.


      fl            Otlwr (frieflyetatd




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Tltle Vtl, the Amerlcans wlth Dlsabllltles Act, the Genetlc lnformatlon Nondlscrlmlnatlon Act, or the Age
Diecrlmlnatlon ln Employmont Act: This will be the only notlce of dismissal and of lour right to sue that we will send 1ou'
Yw may file a lawsult agalnst he respondent(s) under federal law based on thb charge in federal or state coufi. Your
lawsuit must ba flted W!!E!!-g!p1ff$, of your recaipt of thls notlce; or ),our right to sue based on this charge will be
tost. (The lime limit for filing suit bassd on a clalm under state law may be different.)

Equd Pay Act (EPA): EPA suits must be filed in federal or state court withln 2 pars (3 pars for willful violations) d lhe
alleged een unierpaymenl Th's means that backpay due for any vlolatlons that occuned mor. than 2 vears {3 YBar3I
before you ftle sult may not bs collectlble.

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Case: 1:19-cv-00485 Document #: 1 Filed: 01/23/19 Page 17 of 18 PageID #:17




                               ILLINOIS DEPARTMENT                                OF


                                                Pat Quinn, Governor
                                               Rocco J. Claps, Director




May 9, 2018


Ms. Reina Lopez
35+204 Shimominaga Cho
Higashi, Hiroshima 739-0023

Charge        No:        18M0411.03
Respondent: Walgreens
Dear Ms. Lopez:

Enclosed please find  a formal statement of charge which is based on information the
Department has reoeived from you and which has been docketed as an unperfected charge and
assigned the above charge number. lf the charge has a letter ?" or "F' in it, we are also
enclosing an important notice from the Federal Equal Employment Opportunity Commission
because the charge has automatically filed your with the agency as well.

You must take the following steps for the Department to investigate your situation:

                    1.   Sign the Original Charge.

                    2-   Retum the charge by this due date: Mav 31. 2018.

lf the signed charge is not returned by the due date, the Department will assume that you do not
wish to proceed with this matter and will recommend disrnissal of your charge for failure to
proceed. lf you have any questions related to this matter, please contact me at (217) 785-5100.

Sincerely,
lntake Unit

rN8/ (3/10)




1O0   West Randolph Street. James R. Thompson Center, Suite 10-100, Chkxgo. ltllnols 60@1,312-81+6200, 312-263-1579 ODD)
         Case: 1:19-cv-00485 Document #: 1 Filed: 01/23/19 Page 18 of 18 PageID #:18



           CHARGE OF DISCRIMINATION                                              AGENCY                   CHARGENUMBER
This form is affected by the Privacy Act of 1974: See Privacy act statement
before completlng thls form.                                                                                   18M0411.03
                                                                                 I    nnoc

                                       [linois Department of Human Rights and EEOC
NAME (lndlcetc Mr. Ms. Mrs.)                                                     HOME TELEPHONE (indude             erea code)
REINA LOPEZ                                                                      0r1-81-82-426-A419
STREET ADDRESS                    CITY, STATE AND ZIP CODE                                         DATEOFBIRTH
354.204 SHIMOMINAGA SAIJO CIIO HIGASIII HIROSHIMA 739.0023
JAPA}[
NAII{ED IS THE EMPLOYE& LABOR ORGANIZATION, EMPLOYMENT AGENCY, APPR"ENTICESHIP COITIMITTEE, STATE OR
LOCAL GOVERNMENT AGENCY WHO DISCRIMINATED AGAINST ME (IF MORE THAN ONE LIST BELOlll
NAME                                 NI.]MBER OF EI}IPLOYEES,        TELEPHONE (Include area code)
WALGREENS                            I}IEMBERS 15+                   2r7-356-8287
STREET   ADDRESS                                   CITY, STATE AND ZIp CODE                                        COUNTY
841 BLOOMINGTON                ROAD                CHAMPATGN,ILLINOIS 61820                                         CHAMPAIGN
CAUSE OF DISCRIMINATION BASED ON:                                                                   DATE OF DISCRIMINATION
                                                                                                    EARLIEST (ADEA/EPA) LATEST (ALL)
DISABILITY                                                                                             09|fitzafi
                                                                                                    l-l   conrrruurNcAcrroN
THE PARTICULARS ARE (if addltional space is needed sttsch extri sheets)

I began my employment with Respondent in May 2016 as a Store Associate. In or around September 2017,
I had a CT Scan Performed, which required an injection. I believe tle injection may have altered my
behavior at work due to the side effects, which are referred to as Akathisia. Ou September 11, 2017, I was
harassed by Respondent when Tommy (last name unknown), Store Manager, made a video which made
fun of my behavior, said I was a criminal and a bad person then sent the video to the rvhole [ation.

I believe I believe I have been discriminated against because of my physical disability, Akathisia, in
violation of the Americans with Disabilities Act of 1990.




                                                                        SIGNATTJRE OF            COMPLAINANT                             DATE
                                                                        I declare under penalty that the foregoing ls true and correct I slear or aftirm
                                                                        tlat I have rcad lhc tbovc cherge and that it is truo to the bcst of my
                                                                        knorvlcdgg information and bcliof

          FORM 5 (5n5)
